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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


JO LYNN WILSON                                        :
                                                      :
         Plaintiff                                    :              CIVIL ACTION NO.:
                                                      :              3:15-CV-00207-DFM
vs.                                                   :
                                                      :
YALE UNIVERSITY                                       :
                                                      :
         Defendant                                    :              SEPTEMBER 11, 2017

                     DEFENDANT’S PROPOSED VOIR DIRE QUESTIONS

         The defendant respectfully submits the follow questions to be asked of potential jurors.

         1.      Are you, or someone close to you, employed by Yale University? If yes, please
                 describe the nature of the employment and your feelings regarding the same.

         2.      Have you, or someone you know, sued Yale University? If yes, please describe
                 the claims, the outcome, and your feelings regarding the same.

         3.      Do you have any opinions about Yale University? If yes, please explain your
                 opinion.

         4.      Do you, or someone close to you, know Jo Lynn Wilson?             If yes, please
                 describe the relationship.

         5.      Do you, or someone close to you, have a disability? If yes, please describe the
                 disability, the manner in which it affects your ability to work, and how your
                 employer responded to any requests for accommodations.

         6.      Have you, or someone close to you, been discriminated against because of a
                 disability? If yes, please describe the circumstances, whether a claim was
                 brought, the outcome of the claim, and your feelings regarding the same.

         7.      Have you, or someone close to you, requested an accommodation for a
                 disability? If yes, please describe the circumstances, whether the request was
                 granted, whether a claim was brought, the outcome of the claim, and your
                 feelings regarding the same.
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   8.    Have you, or someone close to you, been discriminated against because of race,
         gender, age, or religion? If yes, please describe the circumstances, whether a
         claim was brought, the outcome of the claim, and your feelings regarding the
         same.

   9.    Have you, or someone close to you, been wrongfully accused of
         discrimination? If yes, please describe the circumstances, whether a claim was
         brought, the outcome of the claim, and your feelings regarding the same.

   10.   Are you, or someone close to you, a member of a union and subject to a
         contract between your employer and the union?

   11.   Have you or someone close to you, been terminated for violating a provision of
         the contract between the employer and the union? If yes, please describe the
         circumstances, whether a claim was brought, the outcome of the claim, and
         your feelings regarding the same.

   12.   Have you, or someone close to you, been terminated for failing to contact your
         employer when you were absent from work? If yes, please describe the
         circumstances, whether a claim was brought, the outcome of the claim, and
         your feelings regarding the same.

   13.   Have you, or someone close to you, been in a position to fire an employee? If
         yes, please describe the circumstances and your feelings regarding the same.

   14.   Do you have any feelings or opinions that would affect your ability to be a fair
         and impartial juror in a case where an employee has sued her employer for
         disability discrimination and a failure to accommodate a disability?

   15.   Can you assure all parties that you will wait until you have heard all of the
         testimony from all of the witnesses and carefully listened to the Judge’s
         instructions on the law before you form any conclusions about this case?

   16.   You will learn in the jury charge that the plaintiff has the burden to establish
         each element of her claims; and if she has failed to prove even one element of a
         claim, then you will need to find in favor of the defendant on that issue. Is there
         anyone here who feels that he or she may not be able to comply with that
         instruction?

   17.   The issue to be addressed in this case is whether the plaintiff has proven that
         Yale discriminated against her because of her alleged disability or has failed to




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         accommodate a disability after she requested an accommodation in connection
         with her employment. Is there anyone who would be unable to understand that
         the issue is not whether you think the termination of the plaintiff was harsh or
         unfair, but rather that the issue is whether the termination violated the specific
         laws which govern the plaintiff’s claims?

   18.   It is natural to feel sympathy when something unfortunate, such as losing a job,
         occurs to another human being. However, the law requires that you put
         whatever natural feelings of sympathy you may have aside when deliberating
         on a case. Is there anyone who feels that he or she may not be able to put aside
         feelings of sympathy when deliberating in this case?

   19.   The plaintiff’s claim of employment discrimination requires that the plaintiff
         prove actual intent to discriminate. Is there anyone here who feels that he or
         she may be unable to follow that instruction?

   20.   Under the law, the plaintiff has the burden of proving each element of her case.
         Is there anyone here who feels that there is something unfair about that, or that
         they feel as though they would not be able to apply that burden of proof?

   21.   You will hear evidence that the plaintiff was a member of a union, and
         therefore both parties were subject to provisions of the union contract. Is there
         anyone among you who feels that he or she would not be able to recognize that
         in this case the employer may properly terminate an employee for reasons
         which are provided in the union contract, as long as the termination was not the
         result of intentional discrimination?

   22.   The law in employment discrimination cases is that the plaintiff must have
         actual evidence of discrimination; the plaintiff’s subjective belief that there has
         been intentional discrimination does not suffice to establish a case of
         employment discrimination. Is there anyone here who feels that he or she may
         not be able to follow that instruction?

   23.   Will you be able to listen to the Judge’s instructions and follow them even if
         you do not agree with the law as it is explained to you in the jury charge?




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                                                       THE DEFENDANT
                                                       YALE UNIVERSITY


                                                  BY:___/s/ Patrick M. Noonan (#ct00189)
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.


                                                       _______________/s/________________
                                                       Patrick M. Noonan




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